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   ROWLAND MARCUS ANDRADE
11
                                UNITED STATES DISTRICT COURT
12
                             NORTHERN DISTRICT OF CALIFORNIA
13
                                    SAN FRANCISCO DIVISION
14

15   UNITED STATES OF AMERICA,                      CASE NO.: 3:20-CR-00249-RS-LBx
16                     Plaintiff,
                                                    DECLARATION OF KERRIE C. DENT
17         v.                                       IN SUPPORT OF DEFENDANT
                                                    ROWLAND MARCUS ANDRADE’S
18   ROWLAND MARCUS ANDRADE,                        REPLY IN SUPPORT OF MOTION TO
                                                    COMPEL DISCOVERY
19                     Defendant
20                                                  Hon. Laurel Beeler, Magistrate Judge

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     DECLARATION OF KERRIE C. DENT ISO DEFENDANT               CASE NO.: 3:20-CR-00249-RS-LBx
     ANDRADE’S REPLY ISO MOTION TO COMPEL DISCOVERY
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 1                              DECLARATION OF KERRIE C. DENT

 2   I, Kerrie C. Dent, counsel for Defendant Marcus Andrade, states as follows:
 3           1.     I am one of the lawyers representing Defendant Marcus Andrade in the above-
 4   captioned matter.
 5           2.     On May 10, 2022, we sent a discovery letter to the government that included
 6   requests for agreements, FBI 302 reports, transaction monitoring data, and other documents from
 7   ComplyAdvantage. Although the government had produced a few documents relating to
 8   ComplyAdvantage, it resisted our discovery request.
 9           3.     In an effort to assist the government in determining whether it had any additional
10   material from ComplyAdvantage, the defense provided the government with the name of Angela
11   Generosa, the person associated with ComplyAdvantage to whom the FBI had reached out in
12   2019.
13           4.     The most the government would say in response to Mr. Andrade’s request was
14   that it “is not aware at this time of any documents regarding agreements with
15   ComplyAdvantage.” It did not address other portions of the defense request.
16           5.     After the Opposition was filed, through a conversation that Ms. Generosa had with
17   one of our investigators, I confirmed that the FBI agents had in fact contacted Ms. Generosa in
18   2019 (both by phone and by email), as we had advised the government. She told the investigator
19   that she had not returned the call or the email at that time. In her post-Opposition call with the
20   defense investigator, Ms. Generosa also denied some (but not all) of the statements attributed to
21   her by the FBI in the calls on December 1 and 2, 2022.
22           I declare under penalty of perjury under the laws of the United States that the foregoing is
23   true and correct.
24           Executed on December 9, 2022 at Washington, District of Columbia.
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                                                       /s/ Kerrie C. Dent
26                                                     Kerrie C. Dent

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     DECLARATION OF KERRIE C. DENT ISO DEFENDANT                       CASE NO.: 3:20-CR-00249-RS-LBx
     ANDRADE’S REPLY ISO MOTION TO COMPEL DISCOVERY
